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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
No. 19=-CR-561 (LAP)

-against=
No. 11-CV-691 (LAK)

STEVEN DONZIGER, ORDER

 

Defendant.

 

 

LORETTA A. PRESKA, Senior United States District Judge:

The Court is in receipt of Defendant Steven Donziger’s
letter regarding his proposed opening statement. (See dkt. no.
252.) Counsel is reminded of the Court’s order to confer with

opposing counsel regarding the proposed length of opening

statements. {See dkt. no. 250.)
SO ORDERED.
Dated: April 5, 2021

New York, New York

 

Lcctla a Jrek whe

LORETTA A. PRESKA
Senior United States District Judge

 
